      Case 3:21-cv-00251-MCR-EMT Document 57 Filed 10/13/21 Page 1 of 2



                                                                          Page 1 of 2

                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

MARK EATON, et al.,
   Plaintiffs,

vs.                                               Case No.: 3:21cv251/MCR/EMT

THE BANK OF NEW YORK
MELLON,
     Defendant.
_____________________________/

                                     ORDER

      The magistrate judge issued a Report and Recommendation on September 28,

2021 (ECF No. 54).       The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). I have made a de novo determination of all

timely filed objections. See ECF No. 55.

      Having considered the Report and Recommendation, and the timely filed

objections thereto, I have determined the Report and Recommendation should be

adopted.

      Accordingly, it is now ORDERED as follows:

      1.    The magistrate judge’s Report and Recommendation (ECF No. 54) is

adopted and incorporated by reference in this order.
      Case 3:21-cv-00251-MCR-EMT Document 57 Filed 10/13/21 Page 2 of 2



                                                                               Page 2 of 2

       2.     Defendant “BoNYM’s [The Bank of New York Mellon’s] Motion for

Entitlement to Attorneys’ Fees” (ECF No. 46) is GRANTED.

       3.     Within fourteen days of the date of this order, lead counsel for the

parties must confer in good faith in an effort to agree upon the amount of the fees to

be awarded to Defendant.        The conference must be in person, by phone, or via

video-teleconferencing.

              a.      If an agreement is reached, the parties must file a joint statement

so indicating and providing the amount agreed upon within twenty-one days of the

date of this order.

              b.      If no agreement is reached, Defendant must file declarations in

the manner set forth in N.D. Fla. Loc. R. 54.1(E) within thirty days of the date of

this order and thereafter the parties must comply with the additional directives set

forth in Local Rule 54.1(F) & (G).

       DONE AND ORDERED this 13th day of October 2021.



                                    M. Casey Rodgers
                                   M. CASEY RODGERS
                                   UNITED STATES DISTRICT JUDGE




Case No.: 3:21cv251/MCR/EMT
